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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


JULIE ELLEN WARTLUFT f/k/a                  :   CIVIL ACTION NO. 1:16-CV-2145
JULIE ELLEN BARTELS AND                     :
FREDERICK L. BARTELS, JR.,                  :   (Chief Judge Conner)
              Plaintiffs                    :
                                            :
               v.                           :
                                            :
THE MILTON HERSHEY SCHOOL                   :
And THE HERSHEY TRUST                       :
COMPANY,                                    :
             Defendants                     :

                                        ORDER

      AND NOW, this 11th day of July, 2018, upon consideration of Defendants’

Motion (Doc. 159) for Leave to File Documents under Seal, and noting the

concurrence of Plaintiffs, it is hereby ORDERED that said motion is GRANTED. It

is further ORDERED that:

      1.       Defendants’ Memorandum of Law in Support of Summary Judgment,
               Statement of Undisputed Facts, and Exhibits in Support thereof are
               filed under seal.

      2.       Plaintiffs are permitted to file their Response in Opposition, including
               supporting papers, to Defendants’ Motion for Summary Judgment
               under seal.

      3.       Defendants are permitted to file their Reply Brief, including
               supporting papers, under seal.




                                         /S/ CHRISTOPHER C. CONNER
                                         Christopher C. Conner, Chief Judge
                                         United States District Court
                                         Middle District of Pennsylvania
